     Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                                 Exhibit A Page 1 of 11




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Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
REDACTED                    Exhibit A Page 2 of 11
                           REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
REDACTED                    Exhibit A Page 3 of 11
                          REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
REDACTED                    Exhibit A Page 4 of 11
                          REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
REDACTED                    Exhibit A Page 5 of 11
                          REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
REDACTED                    Exhibit A Page 6 of 11
                          REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                            Exhibit A Page 7 of 11
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                            Exhibit A Page 8 of 11


     REDACTED              REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                            Exhibit A Page 9 of 11

     REDACTED             REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                           Exhibit A Page 10 of 11

     REDACTED              REDACTED
Case 1:18-bk-10071   Doc 16-3 Filed 02/05/18 Entered 02/05/18 10:18:34   Desc
                           Exhibit A Page 11 of 11

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